14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 1 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 2 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 3 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 4 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 5 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 6 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 7 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 8 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 9 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 10 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 11 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 12 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 13 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 14 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 15 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 16 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 17 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 18 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 19 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 20 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 21 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 22 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 23 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 24 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 25 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 26 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 27 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 28 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 29 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 30 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 31 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 32 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 33 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 34 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 35 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 36 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 37 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 38 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 39 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 40 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 41 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 42 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 43 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 44 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 45 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 46 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 47 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 48 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 49 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 50 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 51 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 52 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 53 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 54 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 55 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 56 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 57 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 58 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 59 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 60 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 61 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 62 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 63 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 64 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 65 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 66 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 67 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 68 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 69 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 70 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 71 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 72 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 73 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 74 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 75 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 76 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 77 of 78
14-50756 - #1289 File 08/26/16 Enter 08/26/16 17:39:34 Main Document Pg 78 of 78
